AO 442 (Rev. 10/03) Warrant for Arrest

UNITED STATES DISTRICT COURT

Western District of North Carolina

UNITED STATES OF AMERICA
WARRANT FOR ARREST

Vv.

Case Number: 4 ‘O & ™) | {|

Regulo RANGEL-Gutierrez

YOU ARE HEREBY COMMANDED to arrest Regulo RANGEL -Gutierrez

Name

and bring him or her forthwith to the nearest magistrate judge to answer a(n)

Indictment Information Complaint Order of Probation Supervised Release Violation Notice
a] Oo bd oO a a - Oo
court Violation Violation Petition
Petition

 

charging him ot her with (brief description of offense)
enter, attempt to enter, or was at any time found in the United States after having been atrested and deported from the United

States, without having obtained the express consent of the Attorney General of the United States prior to March 1, 2003 or from
Secretary of the Department of Homeland Security after March 1, 2003 to reapply for admission to the United States.

in violation of Title 8 United States Code, Section(s} 1326(a)

David C. Keesler

 

Name of Issuing Officer

 

July 7, 2006 Charlotte, North Carolina

United States Magistrate Judge _
Date and Location

Title of Issuing Officer

 

RETURN

This warrant was received and executed with the arrest of the above-named defendant at

 

 

 

 

  

 

 

DATE RECEIVED NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER
Melvin K. Pedersen
DATE OF ARREST Special Agent
Case RidGratpWaw dome nifent2 | Filed 07/07/o6—Pacae—tef4
* Cae FOD—P age Lore

 
